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                                                                                             E-FILED
                                                          Thursday, 22 September, 2022 01:52:44 PM
                                                                        Clerk, U.S. District Court, ILCD

                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF ILLINOIS
                               URBANA DIVISION

PAUL PLOTNER,                           )
                                        )
              Plaintiff,                )
                                        )
      v.                                )      Case No.
                                        )
BOARD OF TRUSTEES OF THE                )
UNIVERSITY OF ILLINOIS,                 )
                                        )
              Defendant.                )      JURY DEMAND

                                     Complaint

      The Plaintiff, Paul Plotner (“Plotner”), in support of his complaint against the

Defendant, Board of Trustees of the University of Illinois (the “University”), states

as follows:

                               Nature of Complaint

      1.      Plotner’s claim is that he was subjected to a hostile working

environment in violation of his rights under the Americans with Disabilities Act, 42

U.S.C. § 12112(a).

      2.      Plotner’s complaint alleges violations of federal law and this Court has

jurisdiction to hear those claims pursuant to 28 U.S.C. 1331.

      3.      Plotner previously filed a complaint with the United States Equal

Employment Opportunity Commission alleging that he had been discriminated

against in violation of his rights under the ADA. On June 28, 2022, he received a

right to sue notice.
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                               Factual Background

       5.    Plotner is an adult who was formerly employed by the University as a

Grounds Worker at its Urbana-Champaign campus.

       6.    The University is a state university located in Urbana-Champaign,

Illinois.

       7.    At all times relevant to this proceeding Chad Garrett was Plotner’s

immediate supervisor.

       8.    Chad Garrett perceived Plotner to suffer from a disability. Specifically

he believed that Plotner suffered from schizophrenia. Owing to this perception,

Plotner is a qualified individual under the Americans with Disabilities Act.

       9.    At all times Plotner performed his job duties in a manner consistent

with the legitimate expectations of the University and was fully capable of

performing his job duties in such a manner.

       10.   Garrett created a hostile and dangerous working environment for

Plotner over a period of time because he perceived Plotner to be disabled. His

actions included: (1) verbally harassing Plotner; (2) harassing Plotner for suffering

from a psychiatric condition; (3) sabotaging power equipment used by Plotner in the

course of his job duties in a manner that could cause him harm; (4) stalking and

following Plotner on his unpaid time; (5) attempting to intimidate Plotner; (6)

engaging in threatening and menacing behaviors towards Plotner and Plotner’s

family members; (7) placing Plotner in situations where he believed that Plotner
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would be subjected to discipline; and (8) other harassing activities. Ultimately

Plotner was constructively discharged as a result of these actions.

      11.      As a result of the foregoing Plotner was subjected to a hostile working

environment because he was perceived to suffer from a disability.

      12.      Plotner has sustained damages as a result of the harassment that was

directed at him. This includes the loss of wages and damages stemming from his

constructive discharge.

      Wherefore, Paul Plotner requests that this Court enter judgment in his favor

and against the University and make the following findings:

      1.       An order finding that he was unlawfully discriminated against in

violation of the Americans with Disabilities Act.

      2.       An award of damages for the injuries that he has sustained.

      3.       An award of fees and costs.

      4.       Any other relief that is appropriate.



            PLOTNER REQUESTS A JURY TRIAL FOR EACH CLAIM

Paul Plotner

By: /s/ John A. Baker
       His Attorney

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